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                              UNITED STATES DISTRICT COURT

                             NORTHERN DISTRICT OF CALIFORNIA


Christine Whalen, et al.,                          Case No.: 23-cv-00459-VC


               Plaintiffs,                         OPPOSITION TO CERBERUS’ MOTION
                                                             TO DISMISS
       v.

                                                   Hearing Date:   July 27, 2023
Kroger Co., Albertsons Companies, Inc.,            Time:           10:00 AM
and Cerberus Capital Management, L.P.,             Place:          Courtroom 4, 17th Floor
               Defendants.                         Judge:          Honorable Vince Chhabria

                                                   Complaint Filed: February 2, 2023




 PLAINTIFFS’ OPPOSITION TO CERBERUS CAPITAL MANAGEMENT, L.P.’S
                                  MOTION TO DISMISS

       Plaintiffs oppose CERBERUS CAPITAL MANAGEMENT, L.P.’S Motion to Dismiss

on the same grounds as are set forth in Plaintiffs’ Memorandum in Opposition to the Motion of

Defendant Kroger Co. to Dismiss and as set forth in Plaintiffs’ Memorandum in Opposition to
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                    PLAINTIFFS’ OPPOSITION TO CERBERUS’ MOTION TO DISMISS
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the Motion of Defendant Albertsons to Dismiss, both of which are filed concurrently herewith

and both of which Plaintiffs incorporate in full herein by reference.


Dated: May 11, 2023                   Respectfully submitted:


                                      By:     s/ Joseph M. Alioto
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                    PLAINTIFFS’ OPPOSITION TO CERBERUS’ MOTION TO DISMISS
